Case 2:05-cv-00547-TJW Document 68 Filed 10/24/07 Page 1 of 4 PageID #: 1145




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


                                                     )
BRUCE N. SAFFRAN, Ph.D., M.D.,                       )
                                                     )
                     Plaintiff,                      )
                                                     )
                v.                                   )   CIVIL ACTION NO. 2:05-CV-547-TJW
                                                     )
BOSTON SCIENTIFIC CORPORATION,                       )
  A DELAWARE CORPORATION,                            )
                                                     )
                     Defendant.                      )
                                                     )

                         PLAINTIFF’S TRIAL WITNESS LIST1
       A.      WITNESSES EXPECTED TO BE CALLED AT TRIAL

               1.      Dr. Bruce N. Saffran, Ph.D., M.D.
                       Plaintiff

               2.      Shraga Nahum Goldberg (live or by video depo)
                       Associate Professor, Harvard Medical School
                       Director of Abdominal Radiology and Intervention, Beth Israel Deaconess
                       Hospital

               3.      James J. Barry (by video depo)
                       Vice President of the Corporate Research and Advanced Technology
                       Development Group, Boston Scientific Corporation

               4.      Douglas E. Godshall (by video depo)
                       Former President of Vascular Surgery, Boston Scientific Corporation

               5.      Russell D. Jamison, Ph.D.
                       Expert for Plaintiff

               6.      Benny D. Freeman, Ph.D., P.E.
                       Expert for Plaintiff


1
        Dr. Saffran reserves the right to amend this list to include witnesses whose depositions
are taken after the service date of this witnesses list.


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Case 2:05-cv-00547-TJW Document 68 Filed 10/24/07 Page 2 of 4 PageID #: 1146




           7.    Alan Ratliff, CPA, JD
                 Expert for Plaintiff

     B.    WITNESSES THAT MAY BE CALLED AT TRIAL

           1.    Warren Clark (by video depo)
                 Controller of the Cardiovascular Division, Boston Scientific Corporation

           2.    Eric Simso (by video depo)
                 Vice President of Interventional Cardiology Marketing, Boston Scientific
                 Corporation

           3.    Timothy O’Shea (by video depo)
                 Vice President, Business Development, Boston Scientific Corporation

           4.    Expert(s) to Rebut one or more of the Opinions of Experts offered by
                 Boston Scientific
                 To be named by the date ordered in the Docket Control Order




                                          2
Case 2:05-cv-00547-TJW Document 68 Filed 10/24/07 Page 3 of 4 PageID #: 1147



Dated: October 24, 2007                  Respectfully submitted,



                                         By:
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                                     3
Case 2:05-cv-00547-TJW Document 68 Filed 10/24/07 Page 4 of 4 PageID #: 1148



                               CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in
compliance with Local Rule CV-5(a). As such, this motion was served on all counsel who are
deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed. R.
Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have
consented to electronic service were served with a true and correct copy of the foregoing by
email and/or fax, on this the 24th day of October, 2007.



                                                  ______________________________
                                                  Eric M. Albritton




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